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FoR THE WESTERN DISTRICT oF TENNES sEE "
WESTERN DIVISION

   

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UNITED STATES OF AMERICA,

Plaintiff, Case No.: 04-20386 D P

V.
CHRIS ANTHONY PARKS,

Defendant.

 

ORDER

 

Before the Court is Defendant Chris Anthony Parks’ motion pursuant to 18 U.S.C. § 4241.
The Court referred the motion to the magistrate judge Where a hearing Was conducted Following
the evidentiary hearing, on April 25 , 2005, the magistrate judge issued his Report and
Recommendation. No objections have been filed to the Report and Recommendation. Upon review
of the Report and Recommendation, the Court adopts the magistrate judge’s proposed factual
findings and legal conclusions

Based thereon, the Court finds that Defendant is competent to stand tn`al. Defense counsel’s

request to order a competency evaluation conducted by a forensic psy?iatrist is DENIED.

IT ls so 0RDERE1) this /Z day of `/ / / ,2005.
L/V`/

B RNICE BoUI DoNALD
UNITED sTATEs DIsTRICT JUDGE

  
   

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Honorable Bernice Donald
US DISTRICT COURT

